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 6   Attorneys for Defendants Western Express,
     Inc. and George Lee Ley
 7
 8                            UNITED STATES DISTRICT COURT
 9                                   DISTRICT OF ARIZONA
10   FRANK CELAYA, an individual,                         NO.
11                                           Plaintiff,   NOTICE OF REMOVAL
12                 v.
13   GEORGE LEE LEY and JANE DOE LEY,
     husband and wife; WESTERN EXPRESS,
14   INC., a Tennessee corporation; ABC
     CORPORATIONS I-X; BLACK AND
15   WHITE PARTNERSHIPS I-X; JOHN and
     JANE DOES I-X; and JACK and JILL DOES
16   I-X,
17                                        Defendants.
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19                 Defendants Western Express, Inc., and George Lee Ley, by and through
20   undersigned counsel, file this Notice of Removal of an Arizona State Court action against
21   it to the United States District Court for the District of Arizona and states as follows:
22                 1.     On or about September 28, 2017, an action was commenced against
23   Defendants in the Superior Court of the State of Arizona, in and for the County of
24   Maricopa, under the caption Frank Celaya v. George Lee Ley and Jane Doe Ley, Western
25   Express, Inc., et al., Case No. CV2017-054669. Plaintiff’s counsel served Defendant
26   Western Express, Inc., via personal service upon Western Express, Inc.’s statutory agent,
27   National Registered Agents, on September 29, 2017. Defendant George Lee Lay was
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 1   served via certified mail.
 2                 2.       Copies of pleadings so far filed in the State Court action are attached
 3   hereto as Exhibit A.
 4                 3.       Defendant Western Express, Inc., is a Tennessee corporation with its
 5   principal place of business in Tennessee. Defendant Ley is a resident of Texas. Upon
 6   information and belief, Plaintiff is a citizen of Maricopa County, Arizona, according to the
 7   Complaint.
 8                 4.       Plaintiff claims personal injuries as a result of Defendants’ alleged
 9   liability. Defendants are of the belief that Plaintiff’s injuries exceed the sum of $75,000.
10                 5.       This Court has original jurisdiction over the civil action pursuant to
11   28 U.S.C. § 1332 in that the matter in controversy exceeds the sum or value of $75,000
12   exclusive of interest and costs, and the action is between citizens of different states.
13   Therefore this action may be removed to this Court pursuant to the provisions of 28
14   U.S.C. § 1441, et seq.
15                 6.       Written notice of the filing of this Notice of Removal will be given to
16   all adverse parties as required by law and a true and correct copy of this Notice will be
17   filed with the Clerk of the Superior Court of the State of Arizona, in and for the County of
18   Maricopa.
19                 7.       A Notice of Filing Notice of Removal with the Clerk of the Yuma
20   County Superior Court and a copy of the same is attached as Exhibit B.
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 1                DATED this 26th day of October 2017.
 2                                          JONES, SKELTON & HOCHULI, P.L.C.
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 4                                          By: /s/ Clarice A. Spicker
                                                Phillip H. Stanfield
 5                                              Clarice A. Spicker
                                                40 North Central Avenue, Suite 2700
 6                                              Phoenix, Arizona 85004
                                                Attorneys for Defendants Western
 7                                              Express, Inc. and George Lee Ley
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 9                            CERTIFICATE OF SERVICE
10                I hereby certify that on this 26th day of October, 2017, I caused the
11   foregoing document to be filed electronically with the Clerk of Court through the
12   CM/ECF System for filing; and served on counsel of record via the Court’s CM/ECF
13   system.
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     /s/ Becky Finnell
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